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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 IN RE RANBAXY GENERIC DRUG
 APPLICATION ANTITRUST LITIGATION                 MDL No. 2878

 THIS DOCUMENT RELATES TO: ALL                    Master File No. 19-md-02878-NMG
 DIRECT PURCHASER ACTIONS

                                 NOTICE OF APPEARANCE

       John D. Radice of Radice Law Firm, P.C. hereby enters his appearance as counsel for

Meijer, Inc. and Meijer Distribution, Inc. in the above-captioned matter.


Dated: April 24, 2019
                                             Respectfully submitted,

                                             /s/ John D. Radice
                                             John D. Radice
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                                             Distribution, Inc.
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                                 CERTIFICATE OF SERVICE


       I, John D. Radice, hereby certify that I caused a copy of the foregoing document to be

filed electronically with the Clerk of Court via the Court’s electronic filing system, which will

serve as notification of such filing to the email addresses of all counsel of record in this action.

                                               Respectfully submitted,

                                               /s/ John D. Radice
                                               John D. Radice
